         Case 8:24-cv-01205-ABA Document 26 Filed 06/12/24                                     Page 1 of 1
                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
LESTER LEE                                       *
    Plaintiff(s),
                                                 *                                             8:24-CV-01205-TJS
    v.                                                            Civil Case No.
BROOKSIDE PARK CONDOMINIUM, INC., ET AL.
                                                 *

    Defendant(s).                                *

                           CONSENT TO EXERCISE OF JURISDICTION BY
                              UNITED STATES MAGISTRATE JUDGE


         ☐ In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned party to the

above-captioned civil matter hereby voluntarily waives the right to proceed before a United

States District Judge and consents to have a United States Magistrate Judge conduct any and all

further proceedings in the case, including trial and entry of a final judgment, with direct review

by the Fourth Circuit Court of Appeals if an appeal if filed.



         ☐ Pursuant to 28 U.S.C. § 636(c), the undersigned party to the above-captioned civil

matter acknowledges the availability of a United States Magistrate Judge but elects to have this

case randomly assigned to a United States District Judge.



June 11, 2024
Date                                                  Signature of Party or Counsel
                                                      Anthony D. Dwyer (415575)
                                                      Printed Name
                                                      Brookside Park Condominium, Inc., Metropolis aka MCM, Inc. and Rammy Azoulay



                                                      Party Name



Electronic filing of this document will be made available only to the Clerk’s Office. Neither
the assigned Magistrate Judge nor the District Judge, if the case is reassigned, will be
informed of the decision of any individual party. No adverse substantive consequences of
any kind will redound to an attorney or party refusing consent.
